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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND                      )
 MEANS, UNITED STATES HOUSE                 )
 OF REPRESENTATIVES,                        )
                                            )
      Plaintiff-Counterdefendant,           )
                                            )
                           v.               )
                                            ) No. 1:19-cv-1974 (TNM)
 UNITED STATES DEPARTMENT                   )
 OF THE TREASURY, et al.                    )
                                            )
      Defendants-Crossdefendants,           )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
      Intervenor-Defendants-                )
      Counterclaimants-CrossClaimants.      )
                                            )

                        NOTICE OF WITHDRAWAL OF COUNSEL

       I, Serena M. Orloff, hereby withdraw my appearance as counsel in this case. The United

States will continue to be represented by other attorneys at the Department of Justice who have

entered appearances in this case.


Dated: November 10, 2021                             Respectfully submitted,

                                                     BRIAN D. NETTER
                                                     Deputy Assistant Attorney General

                                                     JOHN R. GRIFFITHS
                                                     Director

                                                     ELIZABETH J. SHAPIRO
                                                     Deputy Director

                                                     JAMES J. GILLIGAN
                                                     Special Litigation Counsel

                                                      /s/ Serena M. Orloff
                                                     SERENA M. ORLOFF
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